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PIM/CAH: USAO#2018R00271

IN THE UNITED, \ES DISTRICT COURT
FOR ] gtr OF MARYLAND
EPUTY
UNITED STATES OF AMERIGA_—-9
UNDER SEAL

CRIMINAL NO. J K Q-L8 -OSQG

(Conspiracy to Distribute Controlled
Substances, 21 U.S.C. § 846; Using,
Carrying, and Brandishing a Firearm
During and in Relation to a Drug
Trafficking Crime, 18 U.S.C. § 924(c);
Concealing Person from Arrest, 18
U.S.C. § 1071)

Vv.

JONATHAN EDGES,
a/k/a “Toby,”

Defendant.

 

INDICTMENT
COUNT ONE
(Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances)

The Grand Jury for the District of Maryland charges that:

From at least in or about December 2016 through in or about February 2017, in the
District of Maryland and elsewhere, the defendant,
JONATHAN EDGES, a/k/a “Toby,”
did knowingly and willfully combine, conspire, confederate, and agree with others known and
unknown to the Grand Jury to knowingly and intentionally distribute and possess with intent to
distribute a mixture or substance containing a detectable amount of heroin, a Schedule I

controlled substance; and a mixture or substance containing a detectable amount of cocaine, a
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Schedule If controlled substance, in violation of Section 841(a)(1) and (b)(1)(C) of Title 21,
United States Code.

21 U.S.C. § 846
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COUNT TWO

(Using, Carrying, and Brandishing a Firearm During and
in Relation to a Drug Trafficking Crime)

The Grand Jury for the District of Maryland further charges that:
On or about January 16, 2017, in the District of Maryland, the defendant,
JONATHAN EDGES, a/k/a. “Toby,”

did knowingly use, carry, and brandish a firearm during and in relation to a drug trafficking
crime for which he may be prosecuted in a court of the United States, namely conspiracy to
distribute and possess with intent to distribute controlled substances, in violation of Title 21 of
the United States Code Section 846, as alleged in Count One of this Indictment, and also did
knowingly possess said firearm in furtherance of that drug trafficking crime.

18 U.S.C. § 924(c)
18 U.S.C. § 2
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COUNT THREE
(Concealing Person from Arrest)

The Grand Jury for the District of Maryland further charges that:

Between on or about November 16, 2016 and on or about February 5, 2017, in the
District of Maryland, the defendant,

JONATHAN EDGES, a/k/a. “Toby,”

harbored and concealed Marquise McCants, a/k/a “Digga,” a person for whose arrest a warrant
and process had been issued under the provisions of a law of the United States, so as the prevent
the discovery and arrest of Marquise McCants, a/k/a “Digga,” after notice and knowledge of the
fact that a warrant and process had been issued for the apprehension of Marquise McCants, a/k/a
“Digga,” and which warrant had been issued on a felony charge.

18 U.S.C. § 1071

 

 

 

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ROBERT K. HUR
UNITED STATES ATTORNEY
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